Form ffinstps (Revised 05/2017)


                                              United States Bankruptcy Court − District of Kansas
                                                              167 US Courthouse
                                                               401 North Market
                                                              Wichita, KS 67202

         Case Number: 18−11330                                              Chapter: 7

         In re:
         Theresa K Mares
         aka Theresa K Holt
         1652 S Ellis St
         Wichita, KS 67211

         SSN: xxx−xx−5395
                                                                                                                   Filed and Entered By
                                         ORDER GRANTING APPLICATION TO PAY FILING FEES IN                                The Court
                                      INSTALLMENTS COMBINED WITH NOTICE COURT WILL LIKELY
                                       DISMISS CASE IN THE EVENT OF NONPAYMENT OF FEES AS                                7/11/18
                                                                                                                    David D. Zimmerman
                                                             ORDERED                                                   Clerk of Court
                                                                                                                    US Bankruptcy Court


         The application of debtor(s) to pay filing fee and/or administrative fee in installments is before the Court.
         IT IS ORDERED that the debtor(s) pay the combined filing fee and administrative fee of $335.00 in no more than four (4)
         monthly installments:
            First payment of $90 or more is due by August 9, 2018
            Second payment of $90 or more is due by September 10, 2018
            Third payment of $90 or more is due by October 9, 2018
            Final payment is due by November 7, 2018, and must pay the remaining balance.
         IT IS FURTHER ORDERED that all payments be made at the office of the Clerk of the U. S. Bankruptcy Court. All payments
         must be made in the form of cash or money order. No personal checks are accepted.
         IT IS FURTHER ORDERED that until the filing fee is paid in full the debtor(s) shall not make any additional payment or transfer
         any additional property to an attorney or any other person for services in connection with this case.
         IT IS FURTHER ORDERED that a copy hereof be served upon the debtor(s) and the debtor(s)' attorney (if represented) as
         notice pursuant to Fed. R. Bankr. P. 1017(b)(1), and that if the fees have not been paid within the period set out above this
         case may be dismissed without further notice.




          Document 6 − 5                                                    s/ Robert E. Nugent
                                                                            Judge, United States Bankruptcy Court




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